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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT

JAMES D. SULLIVAN and LESLIE ADDISON,
WILLIAM S. SUMNER, JR., RONALD S.
HAUSTHOR, GORDON GARRISON, TED and
LINDA CRAWFORD, and BILLY J. KNIGHT,
Individually and on behalf of Class of persons
similarly situated,                                         Civil Action

                      Plaintiffs,                           Docket No. 5:16-cv-00125-gwc

       v.

SAINT-GOBAIN PERFORMANCE PLASTICS
CORPORATION,

                      Saint-Gobain.

               UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
                      OF CLASS ACTION SETTLEMENT

       Plaintiff Class Representatives James D. Sullivan, Leslie Addison, Ronald S. Hausthor,

Gordon Garrison, Ted Crawford, Linda Crawford, and Billy J. Knight, on behalf of themselves

and the Class Members, have entered into a Class Settlement Agreement resolving all of their

claims against Defendant Saint-Gobain Performance Plastics Corporation. Under Rule 23(e) of the

Federal Rules of Civil Procedure, the settlement of the claims of the Class Representatives and the

Class Members is subject to approval by the Court. Accordingly, pursuant to Rule 23(e), Plaintiffs

move the Court to enter an Order:

   a. Preliminarily approving the terms and conditions of the Settlement embodied in the

       Settlement Agreement subject to a Final Approval Hearing and Final Approval Order by

       the Court;

   b. Finding that the Notice Plan and Notice proposed by Class Counsel fairly and adequately

       describes the terms and effect of the Settlement Agreement; gives notice of Property Class
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   Members’ right to opt out of the Property Class Settlement; describes how Class Members

   may object to approval of the Settlement; gives notice of the time and place of the Final

   Approval Hearing for final approval of the Settlement; and satisfies the requirements of

   Fed. R. Civ. P. 23(e) regarding notice to Class Members of the Settlement;

c. Preliminarily approving the plan for distributing the Property Class Settlement proceeds to

   Property Class Members, on a per property basis, as effective and equitable in its treatment

   of Property Class Members equitably relative to each other;

d. Preliminarily approving Incentive Awards to Class Representatives for their service in this

   matter;

e. Preliminarily approving the form of the Order for establishing the Court-Supervised

   Medical Monitoring Program;

f. Establishing a Qualified Settlement Fund for the deposit of Settlement funds;

g. Entering the following schedule:

   (i)    a date for sending the Class Action Settlement Notice (“Notice Date”) of no more

          than fifteen (15) days after entry of the Preliminary Approval Order;

   (ii)   Saint-Gobain to deposit initial funds, as described more fully in the Settlement

          Agreement, for the Settlement into the Escrow/Qualified Settlement Fund within

          twenty (20) days after entry of the Preliminary Approval Order;

   (iii) an Opt-Out Deadline for the Property Class (the “Opt-Out Deadline”) of thirty (30)

          days after the Notice Date;

   (iv) an Objection Deadline of thirty (30) days after the Notice Date;

   (v)    a deadline of twenty-one (21) days prior to the Objection Deadline for Class Counsel

          to file any requests for attorneys’ fees, costs, or expenses related to the Action or the
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             Settlement;

       (vi) a deadline of twenty-one (21) days prior to the Final Approval Hearing for filing a

             motion for final approval; and

       (vii) a date for a Final Approval Hearing to be held as early as practicable but no earlier

             than one hundred (100) days after entry of the Preliminary Approval Order;

   h. Authorizing parents and guardians of all absent class members to sign Claim Forms and

       releases on behalf of their minor children and wards.

       This Motion is accompanied by Plaintiffs’ Memorandum in support, which attaches as

exhibits the proposed Settlement Agreement and its exhibits (Exhibit 1); a map of the Zone of

Concern (Exhibit 2); a declaration from Class Counsel (Exhibit 3); a proposed Notice Plan with

the proposed Notice to Class Members (Exhibits 4-5); a proposed Preliminary Approval Order

(Exhibit 6); and a proposed Order approving the creation of the Qualified Settlement Fund (Exhibit

7). Counsel for Saint-Gobain have reviewed this Motion and do not oppose the granting of the

Motion by the Court.

       Respectfully submitted, this 10th day of November, 2021.


                                     /s/ Gary A. Davis
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on November 10, 2021, a copy of the foregoing was

filed electronically in the United States District Court for the District of Vermont. Notice of filing

will be sent by operation of the Court’s electronic filing system to all parties indicated on the

electronic filing receipt.


                                       /s/ Gary A. Davis
                                       Attorney for Plaintiffs
